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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

                                                  *

UNITED STATES OF AMERICA                          *

       v.                                         *   CRIMINAL NO. JKB-11-0476

OMAR ANDERSON                                     *

       Petitioner                                 *

        *      *       *      *       *       *       *      *       *      *       *       *

                               MEMORANDUM AND ORDER

       Now pending before the Court is Defendant Anderson’s Motion to Reduce Sentence

(ECF No. 255). The Court has carefully reviewed the Motion as well as the full docket in this

case. For the reasons stated in the Government’s Response (ECF No. 264), the Motion is

DENIED.

       A certificate of appealability may issue only if the defendant has made a substantial

showing of the denial of a constitutional right. 28 U.S.C. § 2253(c)(2). See also Slack v.

McDaniel, 529 U.S. 473, 484 (2000).          In order to satisfy § 2253(c), a defendant must

demonstrate that reasonable jurists would find the district court’s assessment of the constitutional

claims debatable or wrong. Miller-El v. Cockrell, 537 U.S. 322, 336-38 (2003) (citing Slack, 529

U.S. at 484). Defendant has failed to meet the standard for a certificate of appealability.

Therefore, it is DENIED.


DATED this 5th day of July, 2016.
                                                      BY THE COURT:


                                                      ___________/s/______________________
                                                      James K. Bredar
                                                      United States District Judge
